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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                           SAN JOSE DIVISION

                                   7
                                           UNITED STATES OF AMERICA,
                                   8                                                         Case No. 5:14-cr-00028-EJD
                                                        Plaintiff,
                                   9                                                         ORDER DENYING DEFENDANT’S
                                                 v.                                          MOTION TO SUPPRESS
                                  10
                                           ROSALIO ORTIZ,                                    Re: Dkt. No. 118
                                  11
                                                        Defendant.
                                  12
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                                  13            Defendant Rosalio Ortiz moved to suppress evidence obtained from a traffic stop on

                                  14   October 18, 2013. Dkt. No. 118. The court heard the motion on April 23, 2018, and denied it on

                                  15   the record.1 Dkt. No. 129. This order formalizes that ruling.

                                  16       I.   BACKGROUND
                                  17            In an Indictment filed January 16, 2014, Defendant and four other individuals were

                                  18   charged with one count of conspiracy to distribute 500 grams or more of methamphetamine in

                                  19   violation of 21 U.S.C. §§ 846, 841(a) and 841(b)(1)(A)(viii). The Indictment arose from a law

                                  20   enforcement investigation of Mexican drug trafficking organizations allegedly operating in Texas

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                                  22   1
                                         Defendant requested an evidentiary hearing. The court declined that request because the papers
                                  23   do not “allege facts with sufficient definiteness, clarity, and specificity to enable the trial court to
                                       conclude that contested issues of fact exist.” United States v. Howell, 231 F.3d 615, 620 (9th Cir.
                                  24   2000). The recitation of facts from Defendant’s declaration is consistent with the officer’s
                                       version, and the one material difference does not justify an evidentiary hearing. Defendant’s
                                  25   unadorned denial of driving in a manner that could be perceived as driving under the influence of
                                       alcohol or drugs is too conclusory to create the possibility of a truly contested issue of fact. See
                                  26   United States v. Walczak, 783 F.2d 852, 857 (9th Cir. 1986) (“An evidentiary hearing on a motion
                                       to suppress ordinarily is required if the moving papers are sufficiently definite, specific, detailed,
                                  27   and nonconjectural to enable the court to conclude that contested issues of fact going to the
                                       validity of the search are in issue.”).
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                                   1   and California, including within the San Jose area.

                                   2          During the investigation, law enforcement monitored the activities of several individuals

                                   3   suspected of having contact with the Mexican organization. One of those individuals was

                                   4   suspected of drug sales activity following monitored phone calls. On October 18, 2013, law

                                   5   enforcement observed this same individual meet with Defendant in Southern California and

                                   6   deliver a large cardboard box, which the individual placed in the rear of Defendant’s vehicle.

                                   7   Defendant and the other individual then left the location.

                                   8          Defendant drove onto the 60 Freeway, and law enforcement contacted the Pomona Police

                                   9   Department to look out for Defendant’s vehicle. Officers located the vehicle traveling eastbound

                                  10   in the number two lane of the 60 Freeway. Because the vehicle was “tailgating” and swerving

                                  11   from side to side in its lane of travel, the officers believed Defendant may be driving under the

                                  12   influence and initiated a traffic stop. Defendant disputes the officer’s description of how he was
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                                  13   driving.

                                  14          Defendant stopped on the right shoulder of the freeway. An officer approached and saw

                                  15   the cardboard box in the rear of the vehicle. The officer also observed that Defendant was

                                  16   nervous, had difficulty providing his driver’s license, and spoke with an accent. The officer

                                  17   questioned Defendant about his children, where he lived, and where he was going. He then asked

                                  18   Defendant to exit the vehicle and walk back to the police car, ostensibly to determine whether

                                  19   Defendant was under the influence of alcohol or drugs.

                                  20          According to Defendant, the officer did not ask him whether he had been drinking or

                                  21   taking drugs, and did not administer a sobriety test. Instead, the officer asked Defendant for

                                  22   permission to search his vehicle. Defendant responded in the affirmative. During the search, the

                                  23   officer opened the box in the rear of the vehicle and discovered eight bags of a white crystalline

                                  24   substance that appeared to be methamphetamine.

                                  25          Defendant was taken to the Pomona City Jail and advised of his Miranda rights. He told

                                  26   the officers the methamphetamine did not belong to him, and that he was merely driving the

                                  27   methamphetamine to another location for a fee.

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                                   1          Defendant represents he was released from jail on October 21, 2013, and not charged.

                                   2    II.   LEGAL STANDARD
                                   3          Motions to suppress evidence must be made prior to trial “if the basis for the motion is

                                   4   then reasonably available.” Fed. R. Crim. P. 12(b)(3)(C).

                                   5          Defendant’s motion is based on the constitutional authority governing traffic stops. “A

                                   6   police-initiated traffic stop is reasonable under the Fourth Amendment if the police stop the

                                   7   vehicle because of a ‘reasonable suspicion’ that the vehicle’s occupants have broken a law.”

                                   8   United States v. Hartz, 458 F.3d 1011, 1017 (9th Cir. 2006); accord Whren v. United States, 517

                                   9   U.S. 806, 810 (1996). Additionally, “[a] seizure for a traffic violation justifies a police

                                  10   investigation of that violation.” Rodriguez v. United States, 135 S. Ct. 1609, 1614 (2015).

                                  11   Because addressing an infraction is the purpose of a traffic stop, “it may ‘last no longer than is

                                  12   necessary to effectuate th[at] purpose.’” Id. (quoting United States v. Sharpe, 470 U.S. 675, 685
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                                  13   (1985)).

                                  14   III.   DISCUSSION
                                  15          Defendant argues that all evidence obtained from or as a result of the traffic stop, including

                                  16   evidence obtained from the consent search, should be suppressed because (1) the officer initiated

                                  17   the stop without reasonable suspicion; (2) the officer unlawfully prolonged the stop beyond the

                                  18   time necessary to determine the purported traffic violation; and (3) Defendant’s consent to the

                                  19   officer’s request to search the vehicle was not voluntary. None of these grounds are persuasive.

                                  20          A.      The Traffic Stop was Initiated With Reasonable Suspicion
                                  21          As to the first ground, the court recognizes that “[r]easonable suspicion exists if ‘specific,

                                  22   articulable facts . . . together with objective and reasonable inferences’ suggest that the persons

                                  23   detained by the police are engaged in criminal activity.” Hartz, 458 F.3d at 1017. Here, the facts

                                  24   and reasonable inferences warranted the officer’s reasonable suspicion that the occupant of the

                                  25   vehicle he observed on the 60 Freeway was driving while under the influence, an activity

                                  26   prohibited under California law. Cal. Veh. Code § 23152. The officer perceived that Defendant’s

                                  27   vehicle was “tailgating” and swerving within the lane, suggesting to the officer that the driver may

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                                   1   be impaired. Defendant’s attempt to parse these facts and question the officer’s perception that

                                   2   Defendant was driving under the influence is ineffective. As noted, the standard for reasonable

                                   3   suspicion does not require an officer to know a crime has been committed; rather, it is enough that

                                   4   the facts and inferences suggest a possible crime. See Florida v. Royer, 460 U.S. 491, 498 (1983)

                                   5   (observing in the context of a Terry stop that “certain seizures are justifiable under the Fourth

                                   6   Amendment if there is articulable suspicion that a person has committed or is about to commit a

                                   7   crime.”).

                                   8          The court therefore finds the traffic stop was lawful under the circumstances, no matter the

                                   9   reason for the officer’s interest in Defendant’s vehicle or what other purpose the stop ultimately

                                  10   served. See United States v. Willis, 431 F.3d 709, 715 (9th Cir. 2005) (holding that “if the

                                  11   officers have probable cause to believe that a traffic violation occurred, the officers may conduct a

                                  12   traffic stop even if the stop serves some other purpose”).
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                                  13          B.    The Officer Did Not Unlawfully Prolong the Stop
                                  14          The motion’s second ground fares no better. Even if a stop is lawfully initiated to further

                                  15   investigate a traffic violation, the police “may conduct certain unrelated checks” so long as they do

                                  16   not “do so in a way that prolongs the stop, absent the reasonable suspicion ordinarily demanded to

                                  17   justify detaining an individual.” Rodriguez, 135 S. Ct. at 1615. Applying that rule to this case,

                                  18   the officer did not prolong the stop by seeking consent to search Defendant’s car because he did so

                                  19   while still involved with “tasks tied to the traffic infraction.” Id. at 1614. Specifically, the

                                  20   officer’s declaration establishes he asked Defendant to exit the vehicle and was in the process of

                                  21   determining whether or not Defendant was driving under the influence at the time he obtained

                                  22   consent to search.

                                  23          On this record, it cannot be said that all tasks tied to the traffic infraction had or reasonably

                                  24   should have been completed before the officer obtained consent and searched Defendant’s vehicle.

                                  25   Id. And in light of that determination, the consent and the evidence resulting from the search are

                                  26   not subject to exclusion under Wong Sun v. United States, 371 U.S. 471 (1963), as fruit of the

                                  27   poisonous tree.

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                                               C.     Defendant Voluntarily Consented to a Search of his Vehicle
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                                                 Turning to the motion’s third ground, the district court examines the totality of all the
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                                       circumstances, including a defendant’s ability to understand English, when discerning whether the
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                                       Government has proven the voluntariness of consent to a warrantless search. United States v.
                                   4
                                       Brown, 563 F.3d 410, 415 (9th Cir. 2009); United States v. Gutierrez-Mederos, 965 F.2d 800, 804
                                   5
                                       (9th Cir. 1992). It undertakes this inquiry knowing the “touchstone of the Fourth Amendment is
                                   6
                                       reasonableness” which “is measured in objective terms . . . .” Ohio v. Robinette, 519 U.S. 33, 39
                                   7
                                       (1996).
                                   8
                                                 Five factors serve as guideposts:
                                   9
                                                        (1) whether the [consenting individual] was in custody; (2) whether
                                  10                    the arresting officers had their guns drawn; (3) whether Miranda
                                                        warnings were given; (4) whether the [consenting individual] was
                                  11                    notified that she had a right not to consent; and (5) whether the
                                                        [consenting individual] had been told a search warrant could be
                                  12                    obtained.
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                                  13
                                       Id.
                                  14
                                                 Though helpful, these five factors do not constitute a “mechanized formula” and no one
                                  15
                                       factor is determinative. Id.
                                  16
                                                 The totality of all the circumstances surrounding Defendant’s interaction with the officer
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                                       demonstrates he voluntarily consented to a search of his vehicle. Several facts support this
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                                       conclusion, even though Defendant was not notified he could decline consent. First, Defendant
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                                       was not in custody at the time he consented to the search; instead, the officer stopped Defendant in
                                  20
                                       order to investigate a possible traffic violation. Routine traffic stops are inherently non-custodial.
                                  21
                                       Berkemer v. McCarty, 468 U.S. 420, 438-39 (1984) (holding “the atmosphere surrounding an
                                  22
                                       ordinary traffic stop is substantially less ‘police dominated’ than that surrounding” custodial
                                  23
                                       interrogation, and is more akin to a Terry stop). Nothing suggests the stop of Defendant was
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                                       anything other than an ordinary roadside investigation, and the officer told Defendant he was not
                                  25
                                       in custody when he consented to the search.
                                  26
                                                 Second, the officer’s conduct was not coercive. Neither handcuffs nor guns were used or
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                                   1   drawn during the traffic stop, and the officer did not threaten to obtain a warrant if Defendant did

                                   2   not consent. And though two officers were on the scene, only one spoke with Defendant before he

                                   3   consented to the search.

                                   4          Third, a pre-consent Miranda warning was unnecessary since Defendant was not in

                                   5   custody when the officer asked to search his vehicle.

                                   6          Fourth, the evidence shows that Defendant had sufficient command of English to

                                   7   understand the officer’s question concerning consent to search. At the beginning of their

                                   8   encounter, the officer asked Defendant about his family, his background, and his travel plans, all

                                   9   of which Defendant answered. Though the officer noticed Defendant spoke with an accent, he

                                  10   was satisfied by Defendant’s responses that Defendant was able to sufficiently understand and

                                  11   converse in English.2 Only after making that determination did the officer ask Defendant for

                                  12   consent to search. See United States v. Amano, 229 F.3d 801, 805 (9th Cir. 2000) (noting
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                                  13   voluntariness of a waiver can be based on officers’ testimony “that Defendant appeared to

                                  14   understand and converse comfortably in English”).

                                  15          In sum, the court finds that Defendant voluntarily consented to the search.3

                                  16          D.    United States v. Orozco Does Not Alter the Analysis
                                  17          Though not discussed in the papers, Defendant relies on United States v. Orozco, 858 F.3d

                                  18   1204 (9th Cir. 2017), to argue against reasonable suspicion. Orozco is of little help, however,

                                  19   because it was decided on unique facts that do not resemble the ones presented by this case.

                                  20   Where not distinguishable, it actually supports the conclusion that the officer had reasonable

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                                  22   2
                                        Defendant admits as much in the declaration he submitted in support of his motion by stating he
                                  23   speaks and understands “quite a bit in English.”
                                       3
                                  24     Because the court finds the traffic stop was supported by reasonable suspicion and the search was
                                       conducted with voluntary consent, it need not address the collective knowledge doctrine or
                                  25   Defendant’s argument based on United States v. Magallon-Lopez, 817 F.3d 671 (9th Cir. 2016).
                                       In any event, Magallon-Lopez is inapplicable. There, it was undisputed the officers did not
                                  26   observe a traffic violation before the traffic stop even though they told the defendant they did
                                       observe one. Such is not the case here. This is therefore not the occasion to consider whether or
                                  27   not there exists a “due process (not Fourth Amendment) based right to be informed of the true
                                       basis for a stop or arrest.” Magallon-Lopez, 817 F.3d at 677 (Berzon, J., concurring).
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                                   1   suspicion to stop Defendant.

                                   2          Orozco involved a stop initiated by Nevada Highway Patrol troopers, who are trained to

                                   3   conduct administrative safety inspections “but are also charged with enforcement of Nevada’s

                                   4   criminal laws.” 858 F.3d at 1207. Under Nevada law, troopers can stop a vehicle to conduct an

                                   5   administrative safety inspection without reasonable suspicion. Id. at 1206.

                                   6          Troopers stopped Orozco after receiving a tip that his vehicle was possibly engaged in

                                   7   drug running. Id. at 1209. In fact, the troopers planned to stop the vehicle even before seeing it.

                                   8   Id. Once they did, they conducted an administrative safety inspection which ultimately revealed

                                   9   several violations. Id. Orozco was not issued a citation, but the troopers asked for and obtained

                                  10   consent to search Orozco’s tractor-trailer. Id. The search yielded twenty-six pounds of

                                  11   methamphetamine and six pounds of heroin. Id.

                                  12          During the subsequent prosecution, Orozco moved to suppress the drug evidence, arguing
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                                  13   the administrative safety inspection that uncovered it was an impermissible pretext “motivated by

                                  14   a desire to search for evidence of drug trafficking, rather than to conduct a commercial vehicle

                                  15   inspection.” Id. The district court denied the motion, reasoning that “an officer having dual

                                  16   motives does not make a warrantless search pretextual, so long as it is conducted pursuant to a

                                  17   lawful administrative scheme with a constitutionally permissible motivation.” Id. at 1210.

                                  18   Orozco was then convicted on two counts of possession with intent to distribute a controlled

                                  19   substance. Id.

                                  20          The Ninth Circuit reversed, holding that a suspicionless stop made for reasons apart from a

                                  21   programmatic purpose, such as to obtain evidence of criminal activity, is not rendered lawful

                                  22   simply because it is undertaken by those charged with enforcing an otherwise valid administrative

                                  23   scheme. Id. at 1212. Stated differently, the court held that an ostensibly legal reason for a stop

                                  24   cannot serve as a pretext for an impermissible reason, if the impermissible reason is the sole

                                  25   purpose of the stop. Id. at 1213. For the stop of Orozco, the record showed its only purpose was

                                  26   to investigate the criminal activity described in the tip received by the troopers. Id. The

                                  27   administrative safety inspection was therefore an impermissible pretext which required the district

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                                   1   court to suppress the drug evidence.

                                   2          Orozco cannot be neatly applied here, since there is no indication Defendant was stopped

                                   3   pursuant to an administrative scheme. Nor does the evidence support the theory that the sole

                                   4   reason for the traffic stop was to obtain evidence of criminal activity unrelated to driving under the

                                   5   influence. If anything, the evidence may show the officer stopped Defendant with a dual purpose:

                                   6   to investigate both a traffic violation and illegal drug activity. But even if that is true, Orozco

                                   7   teaches that the presence of a dual motive - one valid and one impermissible - does not render a

                                   8   stop unlawfully pretextual. Id. at 1213.

                                   9          Accordingly, the court’s consideration of Orozco reinforces the conclusion reached above:

                                  10   that the officer lawfully stopped Defendant based on reasonable suspicion of a traffic violation.

                                  11   IV.    ORDER
                                  12          Based on the foregoing, Defendant’s Motion to Suppress (Dkt. No. 118) is DENIED.
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                                  13

                                  14          IT IS SO ORDERED.

                                  15   Dated: June 29, 2018

                                  16                                                     ______________________________________
                                                                                         EDWARD J. DAVILA
                                  17                                                     United States District Judge
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